Case 5:12-cv-00630-LHK   Document 115-1   Filed 04/23/12   Page 1 of 3




                   EXHIBIT 2
     Case 5:12-cv-00630-LHK      Document 115-1     Filed 04/23/12     Page 2 of 3




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 8                             UNITED STATES DISTRICT COURT

 9                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

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11 APPLE INC., a California corporation,          CASE NO. 12-CV-00630-LHK

12                Plaintiff,                      [PROPOSED] ORDER DENYING
                                                  APPLE’S MOTION FOR A
13         vs.                                    PRELIMINARY INJUNCTION

14 SAMSUNG ELECTRONICS CO., LTD., a               Date: June 7, 2012
   Korean business entity; SAMSUNG                Time: 1:30 p.m.
15 ELECTRONICS AMERICA, INC., a New               Place: Courtroom 8, 4th Floor
   York corporation; SAMSUNG                      Judge: Hon. Lucy H. Koh
16 TELECOMMUNICATIONS AMERICA,
   LLC, a Delaware limited liability company,
17
                 Defendants.
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                                                                     Case No. 12-CV-00630-LHK
                     [PROPOSED] ORDER DENYING APPLE'S MOTION FOR A PRELIMINARY INJUNCTION
     Case 5:12-cv-00630-LHK          Document 115-1        Filed 04/23/12      Page 3 of 3




 1          Before the Court is the Motion for a Preliminary Injunction (the “Motion”) filed by

 2 plaintiff Apple Inc. (“Apple”), as well as all documents and evidence submitted in support and in

 3 opposition thereof, including the opposition brief filed by defendants Samsung Electronics Co.,

 4 Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications America, LLC’s

 5 (collectively, “Samsung”). Argument on the Motion took place on June 7, 2012.

 6          Having considered the Motion and all documents and evidence submitted in support and in

 7 opposition thereof, as well as applicable law and authorities, and having given the parties an

 8 opportunity to argue in support of and in opposition to the Motion, and good cause appearing

 9 therefor, the Court finds as follows:

10             1. Apple has not shown it is likely to prevail at trial on the merits of the claims for

11                 relief at issue in the Motion;

12             2. Apple has not shown it will suffer irreparable harm in the absence of a preliminary

13                 injunction;

14             3. The balance of hardships tips in Samsung’s favor in that the hardship to Apple if

15                 the Motion is not granted does not outweigh the hardship to Samsung if the Motion

16                 is granted; and

17             4. The public interest would not be served by granting the Motion.

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19          The Court HEREBY ORDERS that:

20          Apple’s Motion for a Preliminary Injunction is DENIED.
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23 DATED:
                                                         Hon. Lucy H. Koh
24                                                       United States District Judge.
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                                               -2-                    Case No. 12-CV-00630-LHK
                      [PROPOSED] ORDER DENYING APPLE'S MOTION FOR A PRELIMINARY INJUNCTION
